Case 3:15-cv-00959-MMH-PDB Document 61 Filed 11/05/18 Page 1 of 5 PageID 763




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA
   ex rel. PAULA C. LORONA and REID
   POTTER,

           Plaintiffs-Relators,

   v.                                                  Case No. 3:15-cv-959-J-34JRK

   INFILAW CORPORATION, a Delaware
   corporation, et al.,

           Defendants.
                                                /

        UNOPPOSED MOTION FOR A 28-DAY EXTENSION OF TIME TO RESPOND
         TO INFILAW CORPORATION, ARIZONA SUMMIT LAW SCHOOL, LLC,
         FLORIDA COASTAL SCHOOL OF LAW, AND CHARLOTTE SCHOOL OF
          LAW, LLC’S MOTION TO DISMISS AND LEAVE TO FILE RESPONSE
                  TO MOTION TO DISMISS IN EXCESS OF 20 PAGES

           Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiffs-Relators United States of

   America ex rel. Paula C. Lorona and Reid Potter (“Relators”), by and through undersigned

   counsel, hereby move for a twenty-eighty (28) day (four weeks) extension of time to respond

   to Infilaw Corporation, Arizona Summit Law School, LLC, Florida Coastal School of Law,

   and Charlotte School of Law, LLC’s (collectively “Infilaw Defendants”) Motion to Dismiss,

   and for leave for their response to be in excess of twenty (20) pages, and as grounds

   therefore, Relators state:

           1.     On October 22, 2018, Infilaw Defendants filed their Motion to Dismiss &

   Memorandum of Law (Doc. 56).
Case 3:15-cv-00959-MMH-PDB Document 61 Filed 11/05/18 Page 2 of 5 PageID 764




             2.     Infilaw Defendants’ Motion to Dismiss was thirty-seven (37) pages not

   including the Table of Authorities, signature page, and Certificate of Service.

             3.     Local Rule 3.01(a) requires that responsive motions be no more than twenty

   (20) pages in length.

             4.     Counsel for Relators conferred with counsel for Infilaw Defendants, and

   Infilaw Defendants have consented to allowing Relators to have until December 3, 2018 to

   file a response to Infilaw Defendants’ Motion to Dismiss of no more than thirty-three (33)

   pages.

             5.     The Court has the authority to extend the time for Relators to respond to the

   Motion to Dismiss. See Fed. R. Civ. P. 6(b)(1)(A). This Motion is not being made for the

   purpose of delay, and no parties will be prejudiced by the brief extension requested.

             6.     Wherefore, Relators respectfully request an order (1) extending the deadline

   for Relators to respond to Infilaw Defendants’ Motion to Dismiss up to and including

   December 3, 2018, (2) to permit their response be up to thirty-three (33) pages, and (3)

   granting any other relief it deems just and proper.

                             LOCAL RULE 3.01(g) CERTIFICATION

             Pursuant to Local Rule 3.01(g), undersigned counsel for Relators hereby certify that

   counsel for Relators conferred with Infilaw Defendants’ counsel regarding the relief

   requested in this Motion, and the Infilaw Defendants do not oppose the relief requested

   herein.


             RESPECTFULLY SUBMITTED this 5th day of November 2018.




                                                  2
Case 3:15-cv-00959-MMH-PDB Document 61 Filed 11/05/18 Page 3 of 5 PageID 765




                                  /s/ Jesse L. Hoyer
                                  Jesse L. Hoyer
                                  FL Bar No.: 076934
                                  jlhoyer@jameshoyer.com
                                  James Hoyer, P.A.
                                  2801 W. Busch Blvd., Suite 200
                                  Tampa, FL 33618
                                  Telephone (813) 375-3700
                                  Facsimile (813) 375-3710
                                  Attorneys for Relator Paula C. Lorona only

                                      -and-

                                  /s/ Sean A. Woods
                                  Sean A. Woods*
                                  Arizona Bar No. 028930
                                  docket@millsandwoods.com
                                  Robert T. Mills*
                                  Arizona Bar No. 018853
                                  docket@millsandwoods.com
                                  MILLS + WOODS LAW, PLLC
                                  5055 North 12th Street, Suite 101
                                  Phoenix, Arizona 85014
                                  Telephone (480) 999-4556
                                  Facsimile (480) 999-4750
                                  *Admitted Pro Hac Vice / Attorneys for
                                  Relators Paula C. Lorona and Reid Potter




                                       3
Case 3:15-cv-00959-MMH-PDB Document 61 Filed 11/05/18 Page 4 of 5 PageID 766




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 5th day of November 2018, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice

   of electronic filing to the following:

   Jeremy R. Bloor
   US ATTORNEY’S OFFICE
   400 W. Washington Street
   Suite 3100
   Orlando, Florida 32801
   Email: Jeremy.Bloor@usdoj.gov
   Attorney for United States of America

   -and-

   Vincent A. Citro, Esq.
   Florida Bar. No. 0468657
   LAW OFFICES OF HORWITZ &
   CITRO, P.A.
   17 East Pine Street
   Orlando, Florida 32801
   (407) 843-7733 phone
   (407) 849-1321 facsimile
   Email: vince@horwitzcitrolaw.com

   David E. Mills, Esq.
   COOLEY LLP
   1299 Pennsylvania Avenue
   Washington, D.C. 20004
   (202) 842-7800 phone
   (202) 842-7899 facsimile
   Email: dmills@cooley.com
   Trial Counsel

   Mazda K. Antia, Esq.
   COOLEY LLP
   4401 Eastgate Mall
   San Diego, CA 92121
   (858) 550-6000
   (858) 550-6420
   Email: mantia@cooley.com



                                               4
Case 3:15-cv-00959-MMH-PDB Document 61 Filed 11/05/18 Page 5 of 5 PageID 767




   Attorneys for Defendants InfiLaw Corporation,
   Arizona Summit Law School, LLC, Florida
   Coast School of Law, and Charlotte School
   Of Law, LLC.

   -and-

   David M. Wells
   Florida Bar Number 0309291
   Lauren V. Purdy
   Florida Bar number 93943
   GUNSTER, YOAKLEY & STEWART, P.A.
   225 Water Street, Suite 1750
   Jacksonville, FL 32202
   (904) 354-1980 phone
   (904) 354-2170 facsimile
   Primary email: dwells@gunster.com
   Primary email: lpurdy@gunster.com
   Secondary email: dculmer@gunster.com
   Secondary email: aarmstrong@gunster.com
   Attorneys for Defendant BarBri, Inc.


                                         /s/ Jesse L. Hoyer




                                              5
